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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA
 BLACK EMERGENCY RESPONSE TEAM,
 et al.,
                      Plaintiffs,
 v.                                                   Case No:      21-cv-1022-G

 GENTNER DRUMMOND, et al.,
                       Defendants 1–18.


                                  NOTICE OF APPEAL

       Notice is hereby given that Defendants Gentner Drummond, J. Kevin Stitt, Ryan

Walters, Zachary Archer, Donald Burdick, Sarah Lepak, Katie Quebedeaux, Kendra Wesson,

Dennis Casey, Courtney Warmington, Steven Taylor, Dustin Hilliary, P. Mitchell Adwon, Jr.,

Jeffrey Hickman, Ken Levit, Jack Sherry, Michael Turpen, also known as “State Defendants”

or “Defendants 1-18” in the above-named case, hereby appeal to the United States Court of

Appeals for the Tenth Circuit from the Orders entered in this action on June, 14, 2024, at Dkt.

Nos. 172 and 173.
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                                Respectfully submitted,

                                s/ Garry M. Gaskins, II
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                                    Solicitor General
                                 ZACH WEST, OBA NO. 30768
                                    Director of Special Litigation
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